       Case 1:22-cv-01361-JMC          Document 37       Filed 03/18/25     Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CRESCENT PETROLEUM CORPORATION,
INTERNATIONAL LIMITED AND CRESCENT
GAS CORPORATION LIMITED                                     Civil Action No.: 1:22-01361-JMC
                     Petitioner,

            v.                                             PROTECTIVE AGREEMENT AND
                                                           ORDER
NATIONAL IRANIAN OIL COMPANY,

                    Respondent.




       WHEREAS, Petitioner Crescent Petroleum Corporation International Limited and

Crescent Gas Corporation Limited (“Petitioner”) served a subpoena duces tecum (the

“Subpoena”) on non-party Wells Fargo Bank, N.A. (“Wells Fargo”) in this action (the

“Action”); and

       WHEREAS, the Subpoena calls for the production of documents in Wells Fargo’s

possession containing information that includes confidential information; and

       WHEREAS, compliance with the Subpoena will take place in New York;

       IT IS HEREBY STIPULATED AND AGREED by and between Petitioner and Wells

Fargo, by and through their respective undersigned counsel, as follows:

       1.        This Protective Agreement and Order applies to “Confidential Information,”

as defined below, produced or otherwise disclosed by Wells Fargo to Petitioner in response

to the Subpoena and to any future subpoena that Petitioner may serve on Wells Fargo in

connection with the Action.
       Case 1:22-cv-01361-JMC          Document 37      Filed 03/18/25     Page 2 of 8




       2.     The term “Confidential Information” as used in this Protective Agreement and

Order means any record, spreadsheet, or other document produced by Wells Fargo in

response to the Subpoena that Wells Fargo, after reviewing such record, spreadsheet or other

document, reasonably and in good faith believe constitutes or reveals: (i) confidential trade

secrets, proprietary business information, non-public personal, client, or customer

information concerning individuals or other entities or items; or (ii) information protected

from disclosure by any relevant federal, state or foreign data-protection laws. “Confidential

Information” as used in this Protective Agreement and Order shall not include information

derived exclusively from any public source, regardless of whether such information is

duplicative of the information contained in the documents produced by Wells Fargo. Wells

Fargo may designate any such record, spreadsheet, or other document for protection under

the terms of this Protective Agreement and Order by affixing the term “CONFIDENTIAL”

to each page that contains confidential material.

       3.     If Petitioner contends that materials designated by Wells Fargo should not be

deemed Confidential Information under this Protective Agreement and Order, it shall notify

Wells Fargo of its position within 14 days from the receipt of such designation. Upon Wells

Fargo’s receipt of such notification, Petitioner and Wells Fargo shall meet and confer within

seven days to attempt to resolve the dispute by agreement. If Petitioner and Wells Fargo are

unable to resolve the dispute by agreement, they shall proceed under Rule 45 of the Federal

Rules of Civil Procedure.

       4.     Petitioner shall not use or disclose the Confidential Information for any

purpose other than (i) in proceedings to enforce Petitioner’s Order and Judgment, or any

amendment thereto, entered on April 30, 2024 against Respondent National Iranian Oil

Company in the Action (the “Judgment”); (ii) in garnishment, execution or similar


                                               2
       Case 1:22-cv-01361-JMC          Document 37       Filed 03/18/25     Page 3 of 8




proceedings that Petitioner may commence in the future to enforce the Judgment; or (iii) in

any appeals of the foregoing proceedings (collectively, the “Judgment Enforcement

Proceedings”).

       5.     Any person that intends to file Confidential Discovery Material in the Action

or in relation to Judgment Enforcement Proceedings shall make a reasonable effort to

prevent the Confidential Information from becoming part of the public record, including,

without limitation, requesting that the Confidential Information be filed under seal. If the

Court denies leave to file under seal or if such mechanism is not available in the Judgment

Enforcement Proceedings, a person must redact from a public filing all Confidential

Information that is not material to the purpose for which the document is filed. All persons

seeking to file documents under seal with the Court shall follow the applicable Federal

Rules of Civil Procedure and the applicable Local Rules of the United States District Courts.

All persons producing Confidential Information are deemed to be on notice that United

States Courts of Appeals put limitations on the documents or information that may be filed

in redacted form or under seal and that the Court retains discretion not to afford confidential

treatment to any Confidential Information submitted to the Court or presented in connection

with any motion, application or proceeding that may result in an order and/or decision by

the Court unless it is able to make the specific findings required by law in order to retain the

confidential nature of such material. Notwithstanding its designation, there is no

presumption a court will agree that Confidential Information may be filed with the Court

under seal. Petitioner and Wells Fargo will use their best efforts to minimize such sealing.

       6.     Nothing in this Confidentiality Agreement will prevent any person subject to

it from producing any Confidential Information in its possession in response to a lawful

subpoena or other compulsory process, or if required to produce by law or by any


                                               3
       Case 1:22-cv-01361-JMC         Document 37       Filed 03/18/25     Page 4 of 8




government agency having jurisdiction; provided, however, that such person receiving a

request will provide written notice to the producing person at least 10 days before any

disclosure or otherwise with as many days’ notice as is permitted by the time allowed under

the request. Upon receiving such notice, Wells Fargo shall have the right to oppose

compliance with the subpoena, other compulsory process, or other legal notice if the

producing person deems it appropriate to do so.

       7.     Once Confidential Information is produced, it may be disclosed, summarized,

 or otherwise communicated in whole or in part only to the following persons, who may

 make use of such information only in connection with the Action and any Judgment

 Enforcement Proceedings:

        a.      Counsel who represent parties in the Action and Judgment Enforcement

                Proceedings, and employees and agents of such counsel assisting in the

                preparation or conduct thereof for use in accordance with this Protective

                Agreement and Order, but only after such counsel have agreed to be bound

                by this Protective Agreement and Order;

        b.      Experts or consultants assisting counsel for those parties in the Action or

                any Judgment Enforcement Proceedings, but only after such experts or

                consultants have signed the agreement, annexed as Exhibit A, to be bound

                by this Protective Agreement and Order, as set forth in Section 8 below;

        c.      Potential, anticipated and actual witnesses, and their counsel, in the Action

                or any Judgment Enforcement Proceedings, but only after such witnesses

                have signed the agreement, annexed as Exhibit A, to be bound by this

                Protective Agreement and Order, as set forth in Section 8 below;




                                              4
       Case 1:22-cv-01361-JMC           Document 37        Filed 03/18/25     Page 5 of 8




         d.     The Court in the Action and the court in any Judgment Enforcement

                Proceedings; and

         e.     Court reporters employed in connection with the Action or any

                Judgment Enforcement Proceedings.

       8.      Before counsel may show or disclose Confidential Information pursuant to

Section 7 to any witness, expert or consultant, except at trial, that witness, expert or

consultant shall be provided a copy of this Protective Agreement and Order and must sign the

agreement, annexed as Exhibit A, to be bound by this Protective Agreement and Order. Any

disclosure of Confidential Information to witnesses, experts or consultants pursuant to

Section 7 must be useful or necessary, in the opinion of counsel, for the preparation for or

conduct of the Action or any Judgment Enforcement Proceedings.

       9.      The inadvertent disclosure by Wells Fargo of any document or information

subject to a claim of attorney-client privilege, attorney work-product, or similar ground on

which disclosure of such information should not have been made, shall not be construed as a

waiver of such claim, and Wells Fargo shall have the right to have the document or

information returned to its counsel. Nor shall this Protective Agreement and Order be

construed as requiring Wells Fargo, or its parent company or any of its branches or

subsidiaries, to commit any act that would violate any domestic, federal, state or local law,

or any law of a foreign jurisdiction. The inadvertent disclosure in violation of any such law

shall not be considered a waiver of Wells Fargo’s right to assert the privilege or other ground

on which the document(s) or information in question should not have been disclosed, or of

its right to a return of the document(s) or information.

       10.     The obligations under this Protective Agreement and Order shall survive the

termination of the Action and of any Judgment Enforcement Proceedings and shall continue


                                                5
       Case 1:22-cv-01361-JMC         Document 37       Filed 03/18/25     Page 6 of 8




to bind Petitioner, Wells Fargo, and the parties to whom Confidential Information is

disclosed and who become bound by this Protective Agreement and Order.

       11.    This Protective Agreement and Order shall be governed by, and construed and

interpreted in accordance with, the substantive laws of the State of New York without giving

effect to New York’s conflict-of-law principles. Any motion or proceeding related in any

way to this Protective Agreement and Order, or to any dispute as to Wells Fargo’s

compliance with the Subpoena, shall be brought in the United States District Court for the

Southern District of New York. The parties hereby irrevocably and unconditionally waive

the right to contest personal jurisdiction or venue in the Southern District of New York

       12.    Upon execution by the parties’ respective counsel, and before being so-ordered

by the Court, this Protective Agreement and Order shall be binding upon the parties and

shall be deemed to have the same effect as a court order.

       13.    The parties may sign this Protective Agreement and Order digitally, and

email copies of signatures shall have the same force and effect as original signatures.

       14.    Wells Fargo’s entry into this Protective Agreement and Order shall not be

deemed a waiver of any of its objections or defenses to the Subpoena or to any subsequent

subpoena that Petitioner may serve on Wells Fargo in the Action or in any Judgment

Enforcement Proceedings.




                                               6
      Case 1:22-cv-01361-JMC          Document 37         Filed 03/18/25    Page 7 of 8



       DATED: March 13, 2025
       New York, New York

       QUINN EMANUEL URQUHART &                              MAYER BROWN LLP
       SULLIVAN, LLP

       By: /s/ Gregg Badichek                                By: /s/ Alex C. Lakatos______
            Dennis H. Hranitzky (Bar No. NY0117)             Alex C. Lakatos
            2755 E. Cottonwood Parkway, Suite 430            1999 K Street, NW
            Salt Lake City, UT 84121                         Washington, DC 20006
            801-505-7300 Main Office Number                  (202) 263-3000
            801-515-7400 FAX                                 alakatos@mayerbrown.com

           Debra O’Gorman (Bar No. NY0499)                   Counsel for Non-Party Wells
           51 Madison Avenue, 22nd Floor                     Fargo Bank, N.A.
           New York, NY 10010
           212-849-7000 Main Office Number
           212-849-7100 FAX

           Gregg Badichek (Bar No. 90011157)
           1300 I Street, NW, Suite 900
           Washington, DC 20005
           202-538-8000 Main Office Number
           202-538-8100 FAX

           Counsel for Petitioner Crescent
           Petroleum Corporation and International
           Limited and Crescent Gas Corporation Limited




SO ORDERED
                                                    _________________________
March 18, 2025                                      JIA M. COBB
                                                    United States District Judge




                                               7
        Case 1:22-cv-01361-JMC       Document 37      Filed 03/18/25     Page 8 of 8




                                        EXHIBIT A

                AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

         I have been informed that on or about _______, 2025, the United States District

Court for the District of Columbia entered a Protective Agreement and Order (the

“Protective Agreement and Order”) in the litigation entitled Cresecent Petroleum

Company International Limited v. National Oil Company, Case No. 1:22-cv-01361

(D.D.C.). I have read the Protective Agreement and Order and agree to abide by its

obligations as they apply to me. I will hold in confidence, and not disclose to anyone not

qualified under the Protective Agreement and Order, any Confidential Information, as

defined in the Protective Order, or any words, summaries, abstracts or indices of the

Confidential Information disclosed to me. I voluntarily submit to the jurisdiction of the

United States District Court for the District of Columbia for purposes of any proceeding

related to the Protective Agreement and Order, including my receipt or review of

information that has been designated as “Confidential Information.” The undersigned

acknowledges that his or her duties under the Protective Agreement and Order shall

survive the termination of this case and are permanently binding, and that the failure to

comply with the terms of the Protective Agreement and Order may result in a court’s

imposition of sanctions.


Date:


Printed name:


Signature:



                                             8
